    Case 2:23-cv-02224-MSN-atc           Document 279         Filed 01/10/25     Page 1 of 12
                                          PageID 3465


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


       ROWVAUGHN WELLS,

                          Plaintiff,               Case No. 2:23-cv-02224-MSN-ATC

           v.                                      JURY DEMAND

       THE CITY OF MEMPHIS, et al.,

                          Defendants.


                            PLAINTIFF’S MOTION TO COMPEL
         Pursuant to Federal Rule of Civil Procedure 37, Plaintiff RowVaughn Wells, through her

undersigned counsel, brings this motion to compel Defendant City of Memphis (the “City”) to

produce documents in response to multiple Rule 34 requests for production issued by Plaintiff. 1

                                       TABLE OF EXHIBITS

            Ex. 1    City Response to Plaintiff’s 2d Set of RFPs (Req. Nos. 29-32)
            Ex. 2    City Response to Plaintiff’s 3d Set of RFPs (Req. Nos. 73, 87-90)
            Ex. 3    City Response to Plaintiff’s 4th Set of RFPs (Req. Nos. 96, 110)
            Ex. 4    Letter from Plaintiff to City (Oct. 30, 2024)
            Ex. 5    Letter from City to Plaintiff (Oct. 31, 2024)
            Ex. 6    Letter from Plaintiff to City (Nov. 11, 2024)
            Ex. 7    Letter from Plaintiff to City (Nov. 13, 2024)
            Ex. 8    Email from City to Plaintiff (Nov. 18, 2024)
            Ex. 9    Email from City to Plaintiff (Dec. 6, 2024)
            Ex. 10   Letter from Plaintiff to City (Dec. 13, 2024)


   1
       Pursuant to Local Rule 7.2, Plaintiff certifies that she attempted to confer with the City
regarding the matters raised in this motion. The consultation was unsuccessful for the reasons
set forth herein.
    Case 2:23-cv-02224-MSN-atc           Document 279         Filed 01/10/25      Page 2 of 12
                                          PageID 3466




                                        INTRODUCTION

       This motion concerns multiple discovery requests that Plaintiff propounded to the City of

Memphis to gather evidence to support her Monell claims. The issues regarding each of the

requests are distinct and Plaintiff summarizes them separately herein. In each instance, however,

the parties are at issue because the City cut off discussions when Plaintiff asked the City to

substantiate the objections that the City had relied on to withhold production of responsive

documents.

       The City objected to the requests as overbroad and unduly burdensome in an omnibus

October 31, 2024 letter to Plaintiff (Ex. 5). 2 Plaintiff responded with two letters on November 11,

2024 (Ex. 6) and November 13, 2024 (Ex. 7), asking questions to help eliminate, mitigate, or

simply explain the basis for the October 31 objections. In both those November letters, Plaintiff

asked for a follow-up Rule 37 conference. Id. The City asked to put off the conference until after

the Thanksgiving holiday so that the meeting would be “more productive,” (Ex. 8), but when the

agreed-upon call happened on December 5, 2024, the City’s counsel was woefully lacking in

information, conceding she had no answers to multiple questions Plaintiff had asked in her

November letters. See Ex. 10 (summarizing Dec. 5 call).

       Counsel for the City committed at the December 5 conference to find answers to the

questions Plaintiff had propounded in the November 11 & 13 letters. Id. On December 6, however,

the City sent an email stating broadly that it was standing on the objections in its October 31, 2024

letter. Ex. 9. In doing so, the City cut off the parties’ Rule 37 discussions without answering key

questions Plaintiff posed in her November 11 & 13 letters—questions which were designed to


   2
     The October 31 letter followed up on a Rule 37 conference Plaintiff held with the City on
October 28.


                                                 2
    Case 2:23-cv-02224-MSN-atc            Document 279       Filed 01/10/25      Page 3 of 12
                                           PageID 3467



interrogate the very objections that the City asserted in its October 31 letter. The result is this

motion to compel.

        Plaintiff now comes before the Court, but she should not have to. Plaintiff maintains that

the City’s objections it asserted in its October 31 letter could have been mitigated or eliminated

had the City simply provided the information Plaintiff requested to understand and address those

objections. As it stands, Plaintiff must now bring this motion to the Court with key information

missing because of the City’s unilateral withdrawal from discussions.

        All the same, the City’s various objections simply fail. The requested documents are of

great relevance for proving Plaintiff’s Monell claims, and the City’s objections of overbreadth and

burden are either unsubstantiated, implausible, or both. And by cutting off discussions instead of

substantiating those objections and working out how the City’s stated concerns could be addressed,

the City has short-circuited the meet-and-confer process that is expected of parties under Rule 37.

The Court should order the City to produce responsive documents and ESI.

                                          DISCUSSION

   I.      Rule 34 requests concerning electronic data: RFP Nos. 73 (Ex. 2) 96 (Ex. 3).

        These requests ask the City to produce electronic data related to MPD statistics and use of

force reports. The City asserted burden objections with respect to both requests. In response

Plaintiff asked questions designed to understand the nature of the burdens the City was asserting,

so as to identify ways to mitigate or eliminate the asserted burdens. Instead of answering, the City

cut off discussion on December 6, 2024.

        Request No. 73 asked the City to produce certain data underlying MPD’s CompStat (short

for “Compare Statistics”) meetings from 2018 to 2023. Ex. 2 ¶ 73. CompStat meetings are weekly

meetings at which MPD officials make decisions about officer deployment, tactics, and other

police practices based on data about crime rates and policing activity. The City has represented


                                                 3
    Case 2:23-cv-02224-MSN-atc             Document 279         Filed 01/10/25          Page 4 of 12
                                            PageID 3468



that the data are “maintained” on a program called “Power BI” that “does not store the underlying

data in any categorized format, and that [the data] cannot be recreated for purposes of production.”

Ex. 5. Plaintiff responded with a letter on November 13, 2024 pointing out that “Power BI” is a

Microsoft application for viewing data in an underlying database, and explaining that Plaintiff

sought the data in the underlying repository itself. Ex. 7. Plaintiff asked the City to explain where

the data were stored, and in what format. Id. The City asked for an extension to answer that request.

See Ex. 8 (City counsel asking for more time to hold Rule 37 conference so that it would be “more

productive”).

        The parties committed to discuss the matter at their December 5, 2024 conference, but at

that conference the City’s counsel offered no answer to the question. Then, in its December 6

email, the City effectively cut off discussions, stating: “RFP No. 73: The City reiterates its position

as explained in its October 31 letter to Plaintiff.” Ex. 9. The parties are at issue.

        Request No. 96. This request seeks copies of the reports that MPD officers complete to

document any use of force against a civilian—known as Response to Resistance (“RTR”) reports—

generated between 2018 and 2023. Ex. 3 ⁋ 96. These “RTR” reports are entered into a computer,

and the resulting data is s stored electronically.

        Once again, the City asserted burden objections but then cut off discussions when Plaintiff

interrogated the City’s claims. First the City objected that its attorneys would need to review every

RTR form for confidential information before producing it. At the parties’ October 28, 2024 Rule

37 conference, however, counsel for Plaintiff responded that Plaintiff would be willing to enter

into a confidentiality agreement to cover any confidential information in the RTR forms. The City

then shifted to a different argument, set out in its October 31, 2024 letter: it would take a person

1-2 minutes to “convert” each RTR form into a “producible format,” resulting in 140 hours to




                                                     4
    Case 2:23-cv-02224-MSN-atc             Document 279          Filed 01/10/25       Page 5 of 12
                                            PageID 3469



make a full production responsive to the request. Ex. 5. In her November 13 letter, Plaintiff

responded that the time-consuming “conversion” the City had identified on October 31 might not

be necessary at all if the City could simply produce the RTR data in a native, electronically stored

format, directly from the data source where the RTR information is stored. Ex. 7. To that end,

Plaintiff’s letter asked for some basic information about the RTR data, asking the City to identify

what format the RTR data was stored in currently, and in what repository. Id.

          Once again, when the parties met on December 5, 2024, the City had no answers—indeed

the City’s counsel conceded that they had not inquired into any of the questions Plaintiff had asked

in the November 13 letter. Ex. 10, at 1 (describing City counsel’s lack of knowledge on Dec. 5

call). On the December 5 call, the City’s lawyer agreed to look into the matter further and get back

to Plaintiff. See id. But in its December 6 email the City said it would not be providing any further

information, and instead would be standing on its objections. See Ex. 9 (“RFP No. 96: The City

reiterates its position as explained in its October 31 letter to Plaintiff.”). The parties are at issue.

    II.      Rule 34 Requests concerning MPD files relating to specific incidents of excessive
             force and related investigations: RFP Nos. 87-90 (Ex. 2), 110 (Ex. 3).

          Request Nos. 87-90. These requests ask the City to produce 126 excessive force complaints

and related case files that the City has previously made available to local media (RFP Nos. 87-89),

as well as a separate set of MPD Inspectional Services Bureau (“ISB”) case files for MPD

investigations of officer misconduct related to specific, relevant categories: use of force, body-

worn cameras, and what MPD refers to as “personal conduct.” (RFP No. 90). The City objected

that the responsive documents were in hard copy (a combination of paper files and CD-ROMs),

and as such they were too burdensome to produce. Ex. 5. Instead, the City said, Plaintiff could

inspect them.




                                                    5
    Case 2:23-cv-02224-MSN-atc             Document 279         Filed 01/10/25      Page 6 of 12
                                            PageID 3470



        Inspection alone would not permit Plaintiff to gather the documents for use in this case,

and, Plaintiff pointed out in response, courts are generally hostile to party’s claims of burden that

are created by the party’s own decision to store documents in an inaccessible format. Ex. 4 at 6

(collecting case law). Nevertheless, Plaintiff sought a way forward. Plaintiff tentatively proposed

that a corporate document vendor could be hired to scan the hardcopy documents and download

the data on the CDs. In her November 13, 2024 letter Plaintiff asked the City: “Will you agree to

gathering the documents in this manner? We ask that you please be prepared to discuss whether

the City will agree to have a vendor process the documents and CDs[.]” Ex. 7. To help the parties

evaluate this option, Plaintiff asked the City to “provide an estimate of the number of pages

involved . . . . If the documents are stored in file cabinets, banker boxes, or the like, an estimate

of the number of boxes . . . should be sufficient.” Id.

        When the parties finally met for a Rule 37 conference on December 5, 2024, the City’s

counsel did not have the requested information: no estimate as to the number of documents, boxes,

CDs, or anything else. Once again the City’s counsel said she would to follow up with this

information. Ex. 10, at 1 (describing lack of City counsel’s knowledge at the December 5

conference). But once again, on December 6, the City’s email reverted to its October 31 burden

objections, refusing to explain further, and insisting on its inspect-or-nothing position. Ex. 9 (“RFP

Nos. 87-90: The City reiterates its position as explained in its October 31 letter to Plaintiff.”). With

the City refusing to provide more information, Plaintiff concluded that the parties are at impasse.

       Request No. 110. This request asks the City to produce MPD excessive force complaints

and ISB investigations that the City referred to the Shelby County District Attorney’s Office for

review from January 1, 2018 through January 10, 2023. The City agreed to produce documents




                                                   6
    Case 2:23-cv-02224-MSN-atc            Document 279         Filed 01/10/25      Page 7 of 12
                                           PageID 3471



only from January 1, 2021 to Jan 10, 2023, and objected to overbreadth as to anything outside this

date range and refused to make further production.

          In her November 11, 2024 letter, Plaintiff pointed out that the overbreadth objection

contradicted a great number of authorities that endorsed a five-year period for the gathering of

Monell evidence. Ex. 6. As to burden, Plaintiff pointed out at the parties’ December 5 conference

that any files transferred from the MPD to the Shelby County District Attorney’s Office would

likely have been organized for transmission already, and as such it was unlikely that producing

documents from 2018 to 2021 would pose a significant burden. Counsel for the City acknowledged

this point on the December 5 call and committed to determining whether the City’s transmission

to the District Attorney could be replicated efficiently. Alternatively, as with RFPs 87-90, the City’s

counsel committed on the December 5 call to report back on the volume of documents at issue,

with an eye to retaining a vendor to duplicate them. Ex. 10. On December 6, however, the City

reverted to its October 31 burden and overbreadth objections, and provided none of the information

it had agreed to provide the day before. Ex. 9 (“RFP No. 110: The City’s position on this RFP is

subsumed by our response to RFP No. 87-90 as stated in our October 31, 2024 letter regarding the

burdensomeness of the ISB case file copying.”). This effectively ended Plaintiff’s attempts to

negotiate this discovery with the City, and the parties are now at impasse.

   III.      Rule 34 requests concerning MPD cellphone data: RFP Nos. 29-32 (Ex. 1).

          These requests seek ESI from the cellphones of several MPD officials. Request No. 29

seeks to inspect the cellphones of the individual defendants in this case, including Chief Davis, for

the days in the immediate aftermath of Mr. Nichols’ beating. Ex. 1 ⁋ 29. Request Nos. 30-32 seek

ESI including text messages and other phone-based communications regarding Mr. Nichols’

beating from MPD employees as well. See id. ⁋⁋ 30-32 (including one unnumbered request). The




                                                  7
    Case 2:23-cv-02224-MSN-atc            Document 279        Filed 01/10/25      Page 8 of 12
                                           PageID 3472



City has identified multiple ESI custodians, including Chief Davis, but has made no production of

cellphone ESI from any of these custodians.

       The City’s original responses asserted that MPD employee cellphones were not within the

City’s possession, custody, or control. In her November 11, 2024 letter, however, Plaintiff pointed

out that the City issues cellphones to certain MPD employees and regulates their use, restricting it

to City business. See Ex. 6, at 2 (quoting MPD written policy: “Cellular telephones provided by

the Memphis Police Department are for BUSINESS USE ONLY.” (emphasis original)). That,

Plaintiff’s November 11 letter explained, brought MPD-issued cellphones squarely within the

City’s possession, custody, or control. Id.

       During the parties’ December 5, 2024 conference, the City’s attorney acknowledged that

multiple MPD employees, including Chief Davis, had City-issued cellphones at the time of Mr.

Nichols’ beating. See Ex. 10, at 1-3. The City’s counsel pointed out that Chief Davis in particular

likely had many communications unrelated to this case on her phone as well, and asked whether

Plaintiff’s counsel would agree to criteria (to be specified later) to ensure that the scope of

production was within the claims at issue in this case. Plaintiff’s counsel responded that they would

agree to appropriate limitations, and the City’s counsel said she would follow up. Id.

       In its December 6, 2024 email, however, the City asserted that it would not image Chief

Davis’s phone, citing overbreadth again. Ex. 9 (“To the extent that MPD is in the possession,

custody, or control of a phone issued to Chief Davis, the City will not agree to generate a forensic

image of any such phone. The vast majority of the contents of Chief Davis’s phone have no

relevance to this action.”) Plaintiff responded on December 13, pointing out that the multiple RFPs

that called for imaging and production from Chief Davis’s phone (as well as that of other MPD

custodians) relating to Mr. Nichols’ beating itself, among other topics, could not possibly be




                                                 8
    Case 2:23-cv-02224-MSN-atc            Document 279        Filed 01/10/25       Page 9 of 12
                                           PageID 3473



overbroad so as to bar the cell phone collection in its entirety. Ex. 10, at 1-3 (citing RFP Nos. 29

and 30-32). In the December 13 letter, Plaintiff counsel reiterated that they were willing to discuss

a protocol for producing relevant ESI from the cellphones, but emphasized again that production

from the phones was called for. Id. Given that the City already refused inspection in its December

6 email, Plaintiff’s December 13 letter asked the City to inform Plaintiff by December 18 whether

the City would be changing its position as to this discovery. Id. Plaintiff has heard nothing. The

parties are at issue.

                                           ARGUMENT
        As Plaintiff has set out above, the City’s conduct has followed a pattern: first the City has

asserted an objection—like overbreadth or lack of custody—that allows it to avoid production.

When Plaintiff has explained why that objection is incorrect, the City has reverted to a burden

objection. But when Plaintiff asked questions to understand the nature of that burden, the City cut

off discussions entirely.

        That is not how discovery should be conducted. “Discovery is supposed to proceed with

minimal involvement of the Court.” FDIC v. Butcher, 116 F.R.D. 196, 203 (E.D. Tenn. 1986). That

expectation is effectuated through “the meet and confer requirement[, which] promotes a frank

exchange between counsel to resolve issues by agreement.” Compton v. Donley, No. 1:12-CV-954,

2013 WL 5276538, at *6 n.6 (S.D. Ohio Sept. 18, 2013) (quotation omitted). To accomplish this

goal, the parties must “treat [Rule 37’s] informal negotiation process as a substitute for, and not

simply a formalistic prerequisite to, judicial resolution of discovery disputes.” V5 Techs. v. Switch,

Ltd., 334 F.R.D. 297, 302 (D. Nev. 2019). To that end,

        [T]he parties must present to each other the merits of their respective positions with
        the same candor, specificity, and support during informal [discovery] negotiations
        as during the briefing of discovery motions.




                                                  9
   Case 2:23-cv-02224-MSN-atc             Document 279          Filed 01/10/25      Page 10 of 12
                                           PageID 3474



Liberty Ins. Underwriters, Inc. v. Beaufurn, LLC, No. 1:16-cv-1377, 2021 WL 185580, at *5

(M.D.N.C. Jan. 19, 2021) (quotation omitted). “Only after all of the cards have been laid on the

table . . . can there be a sincere effort to resolve the matter.” Id. (quotation omitted). The City

signally refused to uphold these obligations, with the result that Plaintiff is left with objections that

are generally half-formed and unsubstantiated across the board.

        All the same, the City’s various objections simply fail. Plaintiff has already described the

City’s burden and overbreadth objections above—but only as best she can, given the City’s

premature termination of the parties’ discussions. Speaking more broadly, the City has repeatedly

asserted that Plaintiff’s discovery is unduly burdensome because it brings within it many

documents. As Plaintiff pointed out in her October 30, 2024 letter to the City, however, this sort of

objection ignores the simple reality that Monell claims alleging a widespread practice, such as

those asserted here, require the production of voluminous materials. This burdensome discovery

is necessary precisely because Monell affords formidable defenses to municipalities like the City,

requiring that a Monell plaintiff establish a widespread, settled practice by municipal employees

and indifference by its policymakers.

        At summary judgment and trial the City will doubtlessly insist that the Court hold Plaintiff

to those demanding standards. The corollary, however, is that Monell discovery must be broad to

make it possible for Plaintiff to satisfy those burdens. See, e.g., Mollica v. County of Sacramento,

No. 2:19-cv-2017, 2021 WL 2417118, at *2 (E.D. Cal. June 14, 2021) (finding request to identify

every complaint or grievance of jail staff’s alleged failure to provide medical care over a multi-

year period was relevant and proportional to plaintiffs’ Monell claims because “such claims often

require a broad and substantial amount of discovery,” since they “implicate a potentially large

number of events taking place in an organization over a period of time”); DeLeon v. Guevara, No.




                                                   10
   Case 2:23-cv-02224-MSN-atc             Document 279       Filed 01/10/25      Page 11 of 12
                                           PageID 3475



18-cv-1028, 2019 WL 4278043 (N.D. Ill. Sept. 10, 2019) (requiring defendants to produce all

homicide files over a multi-year period where Plaintiffs alleged Monell claim and noting that

“courts evaluating Monell discovery requests routinely order production of all files for a five-year

period preceding the event at issue in a case.” (collecting cases)); McCrimmon v. Centurion of Fla.,

LLC, No. 3:20-cv-36, 2022 WL 356160, at *9 (M.D. Fla. Feb. 7, 2022) (“Documents of treatment

provided or denied by Centurion healthcare providers [a prison medical vendor]. . . over a period

of years certainly is relevant to Plaintiffs’ Monell claim, which requires a showing of other

instances of constitutionally inadequate healthcare.”).

       Plaintiff’s discovery is targeted to gather evidence of patterns and practices within the

Memphis Police Department related to excessive force and coverup within the Department that,

Plaintiff alleges, were the proximate cause of Mr. Nichols’ savage beating and death. This

discovery is entirely appropriate in a case like this one. The Court should order the City to produce

the documents in its possession that are responsive to this discovery now.

                                          CONCLUSION

       For the reasons set forth above, Plaintiff respectfully requests that the Court order the City

to produce those documents and data in its possession, custody, or control that are responsive to

Plaintiff’s discovery requests, as set forth herein.



Dated: January 10, 2025                                       Respectfully submitted,



 /s/ Stephen H. Weil
 Antonio M. Romanucci (Ill. Bar No. 6190290) (pro hac vice)
 Bhavani K. Raveendran (Ill. Bar No. 6309968) (pro hac vice)
 Sarah Raisch (Ill. Bar No. 6305374) (pro hac vice)
 Joshua M. Levin (Ill. Bar No. 6320993) (pro hac vice)
 Stephen H. Weil (Ill. Bar No. 6291026) (pro hac vice)


                                                  11
  Case 2:23-cv-02224-MSN-atc         Document 279     Filed 01/10/25   Page 12 of 12
                                      PageID 3476



Sam Harton (Ill. Bar No. 6342112) (pro hac vice)
ROMANUCCI & BLANDIN, LLC
321 N. Clark St., Ste. 900
Chicago, IL 60654
+1 (312) 458-1000, Main
+1 (312) 458-1004, Facsimile
aromanucci@rblaw.net
b.raveendran@rblaw.net
sraisch@rblaw.net
jlevin@rblaw.net
sweil@rblaw.net
sharton@rblaw.net

David L. Mendelson (Tenn. Bar No. 016812)
MENDELSON LAW FIRM
799 Estate Place
Memphis, TN 38187
+1 (901) 763-2500 (ext. 103), Telephone
+1 (901) 763-2525, Facsimile
dm@mendelsonfirm.com

Brooke Cluse (Tex. Bar No. 24123034) (pro hac vice)
BEN CRUMP LAW, PLLC
717 D Street N.W., Suite 310
Washington, D.C. 20004
+1 (337) 501-8356
brooke@bencrump.com

Attorneys for Plaintiff




                                            12
